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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
CMM:LS                                              271 Cadman Plaza East
F. #2024R00485                                      Brooklyn, New York 11201



                                                    January 13, 2025

By E-mail and ECF

The Honorable Gary R. Brown
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722

              Re:     United States v. Jacob Israel Walden
                      Criminal Docket No. 24-521 (GRB)

Dear Judge Brown:

               The government respectfully submits this letter motion to request a permanent
order of detention with respect to the defendant Jacob Walden. As further discussed below, the
defendant, who was recently charged in a six-count Indictment for producing, receiving,
accessing, and possessing child sexual abuse material, poses a significant danger to the
community and is a flight risk. The defendant is currently scheduled to be arraigned on January
22, 2025. For the reasons set forth below, the government requests that the arraignment date be
advanced and the Court enter a permanent order of detention.
   I.      Background

              A. Offense Conduct

                In September 2023, law enforcement officers identified Walden as a repeat
purchaser of child sexual abuse material (“CSAM”) from a large-scale production and
distribution ring, which advertised, sold, and distributed CSAM to adult male buyers located in
various locations within the United States and abroad. On April 21, 2024, on Walden’s
outbound international trip from John F. Kennedy International Airport, law enforcement
officers conducted a lawful border inspection of the merchandise in Walden’s possession,
including an Apple iPhone. During the inspection, Walden declared the iPhone as his property
and voluntarily provided his phone number and the password to unlock the iPhone. While
conducting a preliminary manual search of the iPhone, law enforcement identified an electronic
payment account that utilized the same display name as the one used to pay into an account
linked to the CSAM ring. Advised by law enforcement agents that he had been identified as a
subject during an ongoing investigation, Walden made incriminating statements showing his
familiarity with the electronic payment accounts utilized by the CSAM distribution ring.
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               The agents seized the iPhone pursuant to border authority and later obtained a
search warrant for the forensic extraction of the iPhone. A review of the extraction of the iPhone
demonstrated the storage of approximately 23 images and 30 videos of child sexual abuse
material on the device, as charged in the possession of child pornography count of the Indictment
(Count Four). Investigators were able to identify, locate, and interview two of the victims
depicted in some of the CSAM images and videos recovered from Walden’s iPhone. The
victims confirmed that they were of minor age when the content was created.

               During the review of the extraction reports of Walden’s iPhone, law enforcement
also recovered an encrypted chat conversation in which Walden arranged for the purchase of two
packages of CSAM from a foreign-based distributor. One of the packages that Walden
purchased was advertised to include “4-19, FAMILY, SOLO, RAPE, MIXED” content. Upon
proof of payment, the distributor transmitted the child pornography to Walden in a series of
online links, which the defendant saved into his cloud storage account. The two packages of
CSAM, the receipt of which is charged Count Three, contained at least 500 CSAM images and
5,000 CSAM videos, including videos depicting rape, bestiality, and the abuse of toddler-age
children. Additional collections of CSAM recovered from two of Walden’s cloud storage
accounts pursuant to search warrant and totaling at least 20,500 files are charged in the two
access with intent to view counts of the Indictment (Counts Five and Six).

                During the investigation, law enforcement also identified at least 11 minor female
victims, ages 14 to 17 years old, whom Walden contacted, paid, and enticed or attempted to
entice to produce CSAM via social media from at least 2020 to 2024. Offense conduct involving
two of these victims—Jane Doe #1 and Jane Doe #2—is charged in the two sexual exploitation
of children counts of the Indictment (Counts One and Two). Jane Doe #1, who was 17 years old
at the time that Walden enticed her, produced approximately 11 CSAM videos and 4 CSAM
images for Walden. Jane Doe #2, who was 16 years old at the time, produced approximately 3
CSAM videos and 4 CSAM images for Walden. In his chat conversations with these victims,
Walden insisted that he be addressed as “daddy,” provided directions for what content the minors
were to produce (e.g., “take off your top”), and paid the minors via electronic payment after he
received the requested content. In forensic interviews, the victims confirmed that they were of
minor age when Walden contacted them and recalled that Walden requested the victims to
produce specific CSAM for him.

               B. Procedural History

               On July 31, 2024, Walden was arrested upon a complaint charging him with one
count of possession of child pornography in violation of 18 U.S.C. § 2252(a)(4)(B). See ECF
No. 1. The complaint charged Walden with possession of at least two images of child
pornography, which were recovered from defendant’s iPhone and depicted a single identifiable
victim. Id. On August 1, 2024, at the initial appearance before the Honorable Sanket J. Bulsara,
Walden waived a preliminary hearing and was released on home detention with electronic
location monitoring upon a $200,000 bond co-signed by his wife and secured by his primary
residence. See ECF No. 7. At the recommendation of Pretrial Services, the court included
conditions pursuant to the Adam Walsh Child Protection and Safety Act of 2006 (“Adam Walsh
Act”), including limits on Walden’s contact with minors (except his own children), restrictions



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on Walden’s use of electronic devices, and the monitoring of his electronic devices by Pretrial
Services (“cyber monitoring”). Id. at 5.

                On September 5, 2024, Pretrial Services filed a violation of bail conditions after
(i) cyber monitoring revealed that the defendant engaged in an electronic conversation via
WhatsApp with an unknown female in which Walden offered money for sex in connection with
another female’s visit to Walden’s home, and (ii) the defendant made an unauthorized stop at a
Verizon store without obtaining permission from Pretrial Services. At a violation hearing of
September 6, 2024, the Honorable Joseph A. Marutollo found that Walden violated his
conditions of release and modified certain Adam Walsh Act conditions. Specifically, Judge
Marutollo restricted visitors to Walden’s residence (subject to limited exceptions), expanded
restrictions on Walden’s contact with minors to include his own children, and restricted
Walden’s use of WhatsApp. See ECF No. 22 at 5. At a subsequent status conference of
September 20, 2024, the Honorable Robert M. Levy amended these conditions, permitting
Walden’s contact with his own children and allowing a wider category of visitors to Walden’s
residence (subject to certain restrictions). See ECF No. 26 at 6.

                On December 18, 2024, the grand jury returned an Indictment charging Walden
with six counts relating to his production, receipt, possession, and access of child sexual abuse
material. See ECF No. 31. At the time of the Indictment, the government expected to address
detention at a soon-to-be-scheduled arraignment on the Indictment. At the request of defense
counsel, however, the arraignment on the Indictment was adjourned until January 22, 2025. See
ECF No. 32. The government filed the instant application to address detention on an expedited
schedule.

   II.     Legal Standard

                  Under the Bail Reform Act, Title 18, United States Code, Section 3141 et seq.,
upon a government motion the court must hold a hearing “to determine whether any condition or
combination of conditions . . . will reasonably assure the appearance of such person as required
and the safety of any other person and the community” where the charged offense falls within a
category of crimes set forth in Section 3142(f)(1), or where the defendant poses a serious risk of
flight or obstruction of justice. 18 U.S.C. § 3142(f); see also United States v. Watkins, 940 F.3d
152, 158 (2d Cir. 2019). The categories of crimes set forth in Section 3142(f)(1) include “any
felony . . . that involves a minor victim.” See 18 U.S.C. § 3142(f)(1)(E).

               If a detention hearing is warranted, federal courts are empowered to order a
defendant’s detention pending trial upon a determination that “no condition or combination of
conditions will reasonably assure the appearance of the person as required and the safety of any
other person and the community.” 18 U.S.C. § 3142(e). A finding of dangerousness must be
supported by clear and convincing evidence. See United States v. Ferranti, 66 F.3d 540, 542 (2d
Cir. 1995). A finding of risk of flight must be supported by a preponderance of the evidence.
See United States v. Jackson, 823 F.2d 4, 5 (2d Cir. 1987).

               A rebuttable presumption of dangerousness and risk of flight arises when, as here,
a defendant is charged with serious offenses involving minor victims under Title 18, United
States Code, Sections 2251 and 2252(a)(2). See 18 U.S.C. § 3142(e)(3)(E). The presumption


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means that “it shall be presumed that no condition or combination of conditions will reasonably
assure the appearance of the person as required and the safety of the community.” Id.; see also
United States v. Schulte, Case No. 21-3113(L), 2022 WL 1316210, at *2 (2d Cir. May 3, 2022)
(summary order) (“[T]here is a rebuttable presumption in favor of detention in cases where, as
here, there is probable cause to believe that the defendant committed an enumerated offense
involving a minor victim”). In a presumption case, the burden is on the defendant to “com[e]
forward with evidence that he does not pose a danger to the community or a risk of flight.”
United States v. Mercedes, 254 F.3d 433, 436 (2d Cir. 2001). Even if the defendant were to meet
his burden of production, “the presumption favoring detention does not disappear entirely, but
remains a factor to be considered among those weighed by the district court.” Id.

                To determine whether the presumptions of dangerousness and flight are rebutted,
the district court considers four factors: (1) the nature and circumstances of the crimes charged,
“including whether the offense . . . involves a minor victim”; (2) the history and characteristics
of the defendant; (3) the seriousness of the danger posed by the defendant’s release; and (4) the
weight of the evidence against the defendant. Id.; see also 18 U.S.C. § 3142(g). Under the Bail
Reform Act, the government may proceed by proffer, and “[t]he rules of evidence do not apply
in a detention hearing.” Ferranti, 66 F.3d at 541-42.

   III.    The Defendant Should Be Detained Pending His Trial

                In view of the serious charges involving a minor victim returned by the grand
jury, a detention hearing is well warranted, see 18 U.S.C. § 3142(f)(1)(E), and the statutory
presumption of dangerousness and flight is entirely appropriate, see 18 U.S.C. § 3142(e)(3)(E).
Even in the absence of a presumption, however, an analysis of the applicable statutory factors
counsel in favor of detention pending trial given the predatory nature of the defendant’s conduct,
the strength of the evidence, and the substantial prison sentence that the defendant faces if
convicted.

               A. Nature and Circumstances of the Offense

                The nature and circumstances of the charged crime and, as discussed below, the
weight of the evidence strongly supports detention. The defendant is charged with one of the
most serious federal crimes involving the sexual exploitation of children, and he has engaged in a
pattern of disturbingly abusive behavior.

                Specifically, Counts 1 and 2 of the Indictment charge the defendant with enticing
two minors, Jane Doe #1 and Jane Doe #2 respectively, to produce sexually explicit materials for
the defendant in exchange for payment. Jane Doe #1 was 17 years old, and Jane Doe #2 was 16
years old in the period in which Walden enticed them to produce CSAM for payment. As noted,
however, the defendant’s criminal conduct sweeps broader than these two counts: law
enforcement identified at least 11 minor female victims, ages 14 to 17 years old, whom Walden
contacted, paid, and enticed and/or attempted to entice to produce CSAM via social media from
at least 2020 to 2024. And, in addition to enticing and attempting to entice minor females to
produce CSAM for him directly, Walden was also a prolific purchaser of child sexual abuse
material from online producers and distributors of CSAM, fueling demand for content that
included the depiction of rape, bestiality, and the abuse of toddler-age children.


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                 Accordingly, following the return of the Indictment, the defendant’s criminal case
is vastly different from August 1, 2024, when (then Magistrate) Judge Bulsara released the
defendant following his arrest on a single-count complaint charging the possession of two
images of child pornography depicting a single victim. As the extensive scope of Walden’s
criminal conduct has come into focus, so too has the urgent need to protect minors from any risk
of additional misconduct pending trial. See, e.g., United States v. Valerio, 9 F. Supp. 3d 283,
289 (E.D.N.Y. 2014) (“As previously noted, there is a statutory presumption of detention in this
instance. . . . The reason for this presumption is clear. ‘No one questions that child pornography
is an insidious offense since it takes advantage of a particularly vulnerable segment of society,
children.’”). While the defendant is already subject to cyber monitoring and limits on his use of
electronic devices pursuant to the Adam Walsh Act conditions, these are imperfect tools that
cannot prevent a determined defendant, such as Walden, from utilizing the electronic devices of
relatives, friends, or associates.

               The serious charges returned by the grand jury also compound the risk of
nonappearance. Unlike the single count of possession on which Walden was arrested on July 31,
2024, which carries no mandatory minimum term of incarceration, the defendant now faces a
minimum prison sentence of 15 years if convicted of the top charges of the Indictment. See 18
U.S.C. § 2251(e). As the Court of Appeals recognizes, such a minimum prison sentence is one
that may incentivize the defendant to flee, even if he is otherwise rooted in the community. See
United States v. Scali, 738 F. App’x 32, 33 (2d Cir. 2018) (summary order) (“The court
reasonably determined that [the defendant]’s Guidelines range of 87–108 months’ imprisonment
was significant enough to provide an incentive to flee.”); United States v. Khusanov, 731 F.
App’x 19, 21 (2d Cir. 2018) (summary order) (“[A] district court does not clearly err in
concluding that a defendant facing a potentially lengthy prison sentence possesses a strong
motive to flee”).

               Although the defendant is presently subject to home detention and electronic
location monitoring by Pretrial Services, these measures are not foolproof when a determined
defendant elects to flee. In light of the serious charges and his self-reported net worth of $27.9 to
$30.9 million, the $200,000 bond is insufficient to reasonably assure Walden’s appearance.

               B. Weight of the Evidence

                Corresponding to the serious charges is the overwhelming evidence in this case.
Law enforcement has identified, located, and interviewed multiple minor victims, including Jane
Doe #1 and Jane Doe #2, the victims identified in the sexual exploitation of children counts
(Counts One and Two). These victims recall their electronic conversations with the defendant
and can testify cogently about the defendant’s efforts to entice them to produce CSAM for
payment. The anticipated testimony of the victims corroborates the defendant’s own social
media messages in which Walden entices them to produce CSAM for payment. This evidence is
supplemented by tens of thousands of CSAM files obtained from Walden’s iPhone and cloud
storage accounts pursuant to a search warrant, which is charged in the other counts of the
Indictment. Detailed metadata and account records linking the defendant to the social media
accounts, online payment services, and cloud storage accounts tie the other categories of
evidence definitively to Walden. These account records show that Walden utilized these services
to conduct his criminal conduct not only from his home address in Valley Stream, New York, but


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also from his office address in Woodmere, New York and elsewhere. The strong weight of the
evidence not only elucidates the risk of danger to minors posed by the defendant’s release but
also compounds the risk of nonappearance. See United States v. Millan, 4 F.3d 1038, 1046 (2d
Cir. 1993) (substantial evidence of guilt “provides a considerable additional incentive to flee”).

               C. History and Characteristics of the Defendant

                Although the defendant has no prior criminal history, the investigation shows that
Walden committed the offense conduct with perseverance and determination. As it relates to the
enticement of minors, the defendant engaged in a multi-year effort from at least 2020 to 2024 to
contact at least 11 minors for the purpose of obtaining child sexual abuse material upon his
request and/or payment. Walden has also shown a high degree of motivation in building his
collection of child pornography via purchase from online producers and distributors. For
example, when a provider of cloud storage services suspended Walden’s storage account to
block child pornography, Walden opened four different accounts (using different email
addresses) in quick succession to evade the provider’s efforts to block such content. And, even
after Walden was arrested and released on home detention, Pretrial Services found that the
defendant was using WhatsApp to offer a visitor money for sex. Although Pretrial Services has
not found any more recent violations, Walden’s pattern of conduct over several years raises
questions regarding his determination and ability to evade the conditions of release even on
home detention. See, e.g., United States v. Blackman, No. 22 MJ 272 (GRB), 2022 WL 843735,
at *5 (E.D.N.Y. Mar. 22, 2022) (“[S]erious bail violations by those charged with child
pornography offenses are far from unprecedented.”).

               D. Nature and Seriousness of the Danger to the Community or to an Individual
                  that Would Be Posed by Release

                The discussion above highlights why the nature and seriousness of the
defendant’s conduct demand his detention to assure the safety of the community. As this Court
has recognized in an analogous case, “[e]ven mere possession and distribution of child
pornography . . . presents serious . . . concerns.” Id. at *4. The defendant’s offense conduct is
“more troubling” than “mere possession” where, as here, it covers “the production of this
material through the predatory conduct using social media.” Id. at *5. Where the laudable
efforts of Pretrial Services to monitor the defendant’s use of electronic devices faces inherent
limits given the ubiquity of electronic devices and a defendant determined to access child
pornography, the interest of community safety requires his detention.

   IV.     Conclusion

               For all the reasons set forth above, the government respectfully submits that no
condition or combination of conditions will assure the safety of the community or the
defendant’s return to court, and therefore respectfully requests that that the Court order the
defendant detained pending his trial.




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                                                  Respectfully submitted,

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